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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
v.                                   )
                                     )        14-10363-RGS
GLENN A. CHIN,                       )
                                     )
            Defendant.               )
____________________________________)

                                     NOTICE OF APPEAL

        Notice is hereby given that Intervenor Trustees of Boston University, through its radio

station, WBUR (“WBUR”), appeals to the United States Court of Appeals for the First Circuit

from the Court’s October 27, 2017 Order (ECF No. 1281), denying WBUR’s motion for access

to the names and addresses of the jurors in this case. (ECF No. 1245).

                                                      TRUSTEES OF BOSTON UNIVERSITY,

                                                      By its attorney,

                                                      /s/ Jeffrey J. Pyle
                                                      Jeffrey J. Pyle (BBO #647438)
                                                      PRINCE LOBEL TYE LLP
                                                      One International Place, Suite 3700
                                                      Boston, MA 02110
                                                      (617) 456-8000
                                                      (617) 456-8100 (fax)
                                                      jpyle@princelobel.com

                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on November 16, 2017.

                                                      /s/ Jeffrey J. Pyle
                                                      Jeffrey J. Pyle



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